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      ORDERED in the Southern District of Florida on February 11, 2019.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       Miami-Dade Division

      IN RE:                                                          Case Number: 18-21717-LMI

      RICARDO ROJAS
      TERESA GALA FALCON,                                             Chapter: 7

                  Debtor.
      _____________________________/


         ORDER APPROVING THE FILING OF THE REAFFIRMATION AGREEMENT

      This matter came before the Court on February 6, 2019 upon Debtors’ Ex-Parte Motion to
      Vacate Discharge to File Reaffirmation Agreement (“Ex Parte Motion”) filed on January 11,
      2019 [ECF No. 25] of the above captioned case, which case was previously discharged by prior
      order of the Court.

      Upon consideration of the Debtors’ Ex Parte Motion, the Court ORDERS as follows:

         1. The Court finds based on the presentation of counsel that the Reaffirmation Agreement
            was entered into prior to the entry of the Discharge order therefore it is enforceable based
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       on 11 U.S.C Section 524 and Debtors are allowed to file the Reaffirmation Agreement
       post discharge.

   2. The Debtors may file the reaffirmation agreement within 15 (fifteen) days of this order.
      The clerk is directed to close the case upon the filing of the reaffirmation agreement.



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Attorney Dalyla Santos is directed to mail a conformed copy of this Order to all interested parties and
to file a Certificate of Service with the Clerk of the Bankruptcy Court.

Submitted by:
By: /s/ Dalyla Santos
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